     Case 3:22-cv-00619-LAB-DEB   Document 1       Filed 05/02/22   PageID.1   Page 1 of 46




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13                        UNITED STATES DISTRICT COURT
14                      SOUTHERN DISTRICT OF CALIFORNIA

15
   L.W., minor child through her legal
16
   guardian Jane Doe, on behalf of herself     Civil Action No.: '22CV0619 BEN RBB
17 and all others similarly situated,
18                          Plaintiff,         COMPLAINT
19         v.                                  [CLASS ACTION]
20 SNAP INC., APPLE INC., and                  DEMAND FOR JURY TRIAL
   GOOGLE LLC,
21
                       Defendants.
22
23
24
25
26
27
                                               1
28
                            L.W. v. Snap Inc. et al. – COMPLAINT
      Case 3:22-cv-00619-LAB-DEB                      Document 1              Filed 05/02/22         PageID.2          Page 2 of 46




 1                        TABLE OF CONTENTS
      PRELIMINARY STATEMENT ......................................................................................... 1
 2
      FACTS ................................................................................................................................. 2
 3       L.W.’s Story ...................................................................................................................... 2
 4     Snapchat Fosters A Sense of Impunity, A Safe Haven For Child Sexual Abuse ............ 7
 5     Snap’s CSAM Detection Technology is a Poor Fit for its platform and is Ineffective to
       Prevent Sexual Grooming ................................................................................................. 8
 6
       Snap Falsely Represents that It Collects Multiple Data To Enhance User Safety.
 7     Instead, It Profits From User Data Collection and Illegal Activity on Its Platform. ...... 12
 8     Apple’s App Store and Google Play Promote, Participate, and Benefit from Apps that
       are Known to Facilitate CSAM Distribution, like Chitter. ............................................. 15
 9
       Apple Builds Tools that Steer Users to Chitter, Develops Analytic Algorithms that Fail
10     to Monitor App Quality, and Financially Benefits from Illegal Activity on Chitter ...... 17
11     Google Play Store Builds Tools that Steer Users to Chitter, Develops Analytic
12     Algorithms that Fail to Perform Tasks to Monitor App Quality, and Benefits from
       Illegal Activity on Chitter ............................................................................................... 22
13
      PARTIES............................................................................................................................ 26
14 JURISDICTION AND VENUE ........................................................................................ 27
15 CLASS ACTION ALLEGATIONS .................................................................................. 27
16 FIRST CAUSE OF ACTION : STRICT LIABILITY PRODUCT DESIGN AND
   DEFECT ............................................................................................................................. 32
17
   SECOND CAUSE OF ACTION: NEGLIGENCE AND NEGLIGENCE PER SE
18 PRODUCT DESIGN AND DEFECT ............................................................................... 35
19 THIRD CAUSE OF ACTION : CALIFORNIA BUSINESS AND PROFESSIONAL
20 CODE §§17200 & 17500 (“UCL & FALSE ADVERTISING”) ...................................... 36
      FOURTH CAUSE OF ACTION : FRAUDULENT MISREPRESENTATION &
21
      NEGLIGENT MISREPRESENTATION .......................................................................... 37
22 FIFTH CAUSE OF ACTION : UNJUST ENRICHMENT ............................................... 38
23 SIXTH CAUSE OF ACTION : INJUNCTIVE RELIEF .................................................. 39
24 SEVENTH CAUSE OF ACTION: TRAFFICKING VICTIMS PROTECTION ACT, 18
   U.S.C. §§ 1591, 1595 et seq.) ............................................................................................ 40
25
   PRAYER FOR RELIEF..................................................................................................... 42
26
27
                                                                          i
28
                                            L.W. v. Snap Inc. et al. – COMPLAINT
     Case 3:22-cv-00619-LAB-DEB          Document 1         Filed 05/02/22   PageID.3      Page 3 of 46


 1                             “We have been failed, and we deserve answers.
 2             Nassar is where he belongs, but those who enabled him deserve to be held
 3           accountable. If they are not, I am convinced that this will continue to happen
 4                                      to others across Olympic sports.”
 5                                                                 - Simone Biles, Olympic Gymnast,
 6                                              Testimony in Senate Hearing (September 15, 2021)1
 7                                   PRELIMINARY STATEMENT
 8          Plaintiff L.W., through her legal guardian Jane Doe and counsel Eisenberg & Baum,2
 9 LLP, on behalf of herself and all others similarly situated, brings this Complaint against
10 Defendants Snap Inc., Apple Inc., and Google LLC. These claims arise from appalling
11 online sexual grooming perpetrated by an adult against L.W., a child, over Snapchat, one
12 of the most popular social media platforms in the country. The adult coerced and
13 manipulated L.W. and many other children to send Child Sexual Abuse Material depicting
14 themselves over the course of two-and-a-half years. To make matters worse, the adult then
15 downloaded an application called Chitter and distributed those photos and videos to other
16 adults. This adult has been convicted and sentenced for his crimes.
17          The claims alleged in this case are not against the adult perpetrator – they are against
18 three major technology companies who enable him and others to commit these crimes.
19 Plaintiff brings claims for violations of consumer protection laws, products liability torts,
20 misrepresentations, and the Trafficking Victims Protection Act. The facts alleged focus on
21 the data-driven tools that the Defendant companies develop and deploy by collecting troves
22 of personal data from their users, ostensibly to protect minor users from egregious harm.
23
24
25   1
       Plaintiff and representatives have no known connections or affiliations to Ms. Biles whatsoever. The
26   inclusion of this quote in this document is solely based on similarities of concerns bearing upon sexual
     abuse that have harmed minors which was brought to light by the powerful words of Ms. Biles, and to
27   highlight the responsibility of perpetrators and enablers that is similarly addressed in this Complaint.
     2
       Plaintiff’s Counsel thanks student interns Paul Ingrassia (Cornell Law School, 3L) and Patrick K. Lin
28   (Brooklyn Law School, 3L) for their contribution to this case and Complaint.
                                                        1
                                 L.W. v. Snap Inc. et al. – COMPLAINT
     Case 3:22-cv-00619-LAB-DEB           Document 1         Filed 05/02/22   PageID.4      Page 4 of 46


 1 Yet, as experienced by L.W. and so many more, these tools and policies are more effective
 2 in making these companies wealthier than protecting the children and teens who use them.
 3          Plaintiff and similarly situated class members demand that Defendants bring their
 4 services into compliance with laws that prohibit child sexual abuse and enforce their stated
 5 policies to eradicate such criminal conduct from their services. Plaintiff and similarly
 6 situated class members also demand that the Defendant companies redress the harm they
 7 have caused its users.
 8                                                   FACTS
 9                                               L.W.’S STORY
10       1. Minor child L.W. brings this class action through her legal guardian Jane Doe.
11 From age 12 to 16, L.W. was repeatedly sexually groomed and abused on Snapchat.
12       2. On or about September 5, 2018, L.W. was approached by a stranger, B.P., on
13 Instagram. At the time, B.P. was an adult and L.W. was only 12 years old, soon to turn 13.3
14       3. Following a brief conversation on Instagram, B.P. asked L.W. to connect on
15 Snapchat.
16       4. After they formed a Snapchat connection, B.P. began to chat with L.W. on
17 Snapchat regularly.
18       5. Upon belief, Plaintiff, a young child, did not expect that malicious actors would be
19 on the Snapchat platform.
20       6. Less than a week later, on September 11, 2018, B.P. demanded that L.W. send him
21 a nude photograph of herself. When L.W. refused B.P.’s request, saying that she did not
22 want to send him a nude photograph, B.P. responded with a photograph of himself,
23 unclothed, and with an erect penis.
24
25   3
       In March 2019, Snap’s executives admitted to UK lawmakers that its age-verification process is not
26   effective. Snap also claimed at the hearing that Snap’s web-cookies and inference signals are used for the
     purpose of actively determining a user’s real age. See Ongudi, The Science Times, Snapchat Age
27   Verification Tool May not Be Effective At Preventing Children From Accessing It (March 22, 2019),
     https://www.sciencetimes.com/articles/19015/20190322/snapchat-age-verification-tool-effective-
28   preventing-children-accessing.htm
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                                  L.W. v. Snap Inc. et al. – COMPLAINT
     Case 3:22-cv-00619-LAB-DEB     Document 1       Filed 05/02/22   PageID.5   Page 5 of 46


 1      7. Over a period of two-and-a-half years, starting with the incident on September 11,
 2 2018, and continuing until April 15, 2021, B.P. manipulated and coerced L.W. into sending
 3 him pornographic images and videos of herself over Snapchat. B.P. would ridicule and
 4 berate her if L.W. refused and would compliment her when she would comply.
 5      8. B.P. first asked L.W. for photos and videos in her underwear, then photos in the
 6 shower, and eventually photos and videos of L.W. depicting L.W.’s face and body, as well
 7 as exposed breasts and vaginal area. The videos include L.W. masturbating and penetrating
 8 her vagina with foreign objects at B.P.’s instructions and requests.
 9      9. These conversations, images and videos were explicit child sexual abuse material
10 (“CSAM”) depicting an apparent child’s face and figure.
11      10. Both the perpetrator, B.P., and victim, L.W., acknowledge that B.P. persistently
12 and explicitly instructed L.W. to send those images and videos using verbal and
13 photographic coercion on Snapchat’s platform, over L.W.’s objections.
14      11. Moreover, during the two-and-a-half-year period between September 2018 and
15 April 2021, B.P. sent L.W. more than two hundred pornographic photos of his exposed
16 penis and videos of himself masturbating and ejaculating. B.P. would then write sexually
17 explicit messages on Snapchat to L.W., such as “lick this up.”
18      12. B.P. also tried to persuade L.W. to meet in-person at a hotel room or Airbnb to
19 have sex, but L.W. refused.
20      13. During the two-and-a-half-year period, there were multiple instances when L.W.
21 blocked B.P. because she did not want to speak with him. However, B.P. would either
22 contact L.W. through Instagram or a fake account and ask L.W. to reconnect with him on
23 Snapchat again until she yielded to his request.
24      14. At a formal investigation, B.P. admitted that he solely used Snapchat with L.W. –
25 and not any other social media platform – to gain new CSAM and transmit his pornographic
26 images and videos to her because he “kn[e]w the chats will go away” on Snapchat.
27      15. L.W. was not B.P.’s only victim. B.P. used Snapchat to obtain photographs and
28 videos of CSAM by connecting with other minor children during the same time, in different
                                                 3
                             L.W. v. Snap Inc. et al. – COMPLAINT
     Case 3:22-cv-00619-LAB-DEB     Document 1         Filed 05/02/22   PageID.6   Page 6 of 46


 1 states across the country. Many of these photos and videos transmitted over Snapchat
 2 expose the face and nude body of apparent minor children. B.P. also maintained a constant
 3 line of sexually explicit communication with minors over Snapchat.
 4      16. One example of B.P.’s Snapchat dialogues, quoted below, explicitly mentions the
 5 age of the minor victim (other than L.W.) followed by CSAM transmission:
 6                     B.P.: “Age?”
 7                     Underaged Child: “Going to be 14”
 8                     B.P.: “Bikini pic?”
 9                     B.P.: “Snap me”
10                     B.P.: “Send more tit videos?”
11                     B.P.: “I’m older. I’m 20”
12                     B.P.: “I mean it doesn’t really matter now tho. No one will know.”
13                     B.P.: “N[ot] G[onna] L[ie] id still definitely fuck u”
14                     B.P.: “Pound t[he] f[uck] outta both your tight holes.”
15       17. B.P.’s patterned behavior of exploiting minors includes sexually explicit
16 conversations revealing the minors’ geographic location, age, and photos and videos
17 containing CSAM.
18       18. B.P.’s exchanges of CSAM with L.W. and multiple other underaged children
19 began in 2018 and continued until May 2021. B.P. did not stop until he was subject to
20 criminal investigation.
21       19. During this time, B.P. was living and located in the barracks of Marine Corps Base
22 Camp Pendleton in California.
23       20. After coercing underaged children to produce and transmit CSAM on Snapchat,
24 B.P. then utilized another application called Chitter which allows strangers to connect and
25 send anonymous messages and exchange photos and videos. Chitter is known to be used
26 primarily for CSAM distribution.
27       21. B.P. indicated that he uses Chitter to seek out Dropbox links which contain nude
28 photos and videos of “teenagers.”
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                              L.W. v. Snap Inc. et al. – COMPLAINT
     Case 3:22-cv-00619-LAB-DEB     Document 1          Filed 05/02/22   PageID.7   Page 7 of 46


 1       22. B.P. and another Chitter user with the account name “Trade Pics of F’s” connected
 2 on Chitter and traded CSAM depicting Plaintiff and other minor children. For example,
 3 B.P. and the Chitter user with the account name “Trade Pics of F’s” makes blatantly clear
 4 that they were exchanging CSAM depicting children under the age of 16. B.P.’s Chitter
 5 dialogues included their victims’ age, as well as photos and videos:
 6                      B.P.: “Got any underage?”
 7                      Trade Pics of Fs: “Yuh. H[ow] b[out] [yo]u.”
 8                      B.P.: “Yuh lemme see”
 9                      [More CSAM transmitted and exchanged]
10                      Trade Pics of Fs: “Those both are”
11                      [More CSAM transmitted and exchanged]
12                      B.P.: “I got a 14 yr old”
13                      Trade Pics of Fs: “Yea send all”
14                      [More CSAM transmitted and exchanged]
15                      B.P.: “Shes 14”
16                      [More CSAM transmitted and exchanged including depictions of L.W.]
17                      B.P.: “any Vids” [More CSAM transmitted and exchanged]
18                      Trade Pics of Fs: “She’s 15 . . . and the top is 14”
19                      [More CSAM transmitted and exchanged]
20                      B.P.: “any pussy”
21                      ...
22        23. On May 24, 2021, B.P. was investigated for his actions and charged with
23    various crimes perpetrated against L.W. and other victims including Sexual Abuse of a
24    Child involving Indecent Exposure; Production of Child Pornography; Distribution of
25    Child Pornography; and Possession of Child Pornography. He pled guilty to these crimes.
26        24. B.P.’s used Snapchat and Chitter to commit sexual crimes against underaged
27    children like L.W.
28        25. During the years when L.W. was being sexually groomed on Snapchat by B.P.,
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                              L.W. v. Snap Inc. et al. – COMPLAINT
     Case 3:22-cv-00619-LAB-DEB       Document 1        Filed 05/02/22   PageID.8   Page 8 of 46


 1    L.W. was unable to tell anyone about it. Enduring the pain alone, L.W. suffered various
 2    physical and psychological harms including depression, anxiety, self-harm, and multiple
 3    suicide attempts.
 4        26. Due to the physical and psychological harms, L.W. was assessed at a teen
 5    suicide outpatient program, and even an emergency room after a suicide attempt. She
 6    sought care from a personal therapist, psychiatrist, and was prescribed antidepressants.
 7        27. In or around May 2021, L.W. was able to tell her mother about the two-and-a-
 8    half years of abuse she suffered by B.P.’s conduct on Snapchat.
 9        28. L.W. suffered and continues to suffer from embarrassment, shame, guilt, and
10    fear related to her experience involving B.P.
11        29. Because images and videos of her have been distributed on Chitter App, and
12    these are not retractable, L.W. faces constant anxiety and fear that those CSAM are
13    continuing to be spread and watched.
14        30. In addition, L.W. is constantly tormented by the fact that such CSAM have the
15    potential of resurfacing at any point in her life and used against L.W.
16        31. L.W. stated that her 12-year-old self could have never foreseen this and that had
17    she known what would transpire, she would have ended her life before it got this bad.
18        32. At night L.W. lies awake feeling anxious, only falling asleep when she cannot
19    keep her eyes open any longer.
20        33. L.W. has lost all trust in men since these traumatic events. She believes it will
21    take her much effort and countless hours of therapy to restore trust in dating relationships
22    and to enjoy a level of general security.
23        34. B.P.’s sexual grooming and abuse of L.W. on Snapchat continues to have
24    corrosive effects on L.W. internally – most harrowingly of all, L.W. has said the pain “is
25    killing me faster than life is killing me.”
26        35. L.W. believes she is likely to use Snapchat and Defendants’ app stores in the
27    future because they are so integral to modern life where mobility and communication has
28    become integral.
                                                    6
                               L.W. v. Snap Inc. et al. – COMPLAINT
     Case 3:22-cv-00619-LAB-DEB            Document 1         Filed 05/02/22   PageID.9      Page 9 of 46


 1
 2 SNAPCHAT FOSTERS A SENSE OF IMPUNITY, A SAFE HAVEN FOR CHILD SEXUAL ABUSE
 3
 4         36. Snap Inc. (“Snap”) is the parent company of Snapchat, a widely popular photo
 5 sharing application (“app”), which is used by hundreds of millions of people globally with
 6 net annual revenues that exceed $4 Billion.4
 7         37. Snapchat’s popularity among teenagers surpasses other major social media
 8 platforms like Twitter and Facebook.5 The average user spends over 30 minutes of time
 9 per day on Snapchat.6
10         38. Snapchat integrates several unique features that make it stand out from its
11 competitors. First, Snapchat messages disappear from the interface after one reads it
12 (“ephemeral messaging function”). This generates a sense of impunity for many Snapchat
13 users, opening the doors for exploitation and predatory behavior, a fact that has been
14 observed in multiple empirical studies of frequent users. 7
15         39. According to studies, Snapchat users believe that their conduct would be hidden
16 and accordingly feel more empowered to engage in criminal behavior on Snapchat without
17 fear of getting caught.8 This sense of impunity fostered by ephemeral messaging is
18 confirmed by predators like B.P. who openly admitted at his criminal investigation that he
19 only used Snapchat with his victims because he “kn[e]w the chats will go away.”
20
     4
         Global revenue of Snap from 1st quarter 2015 to 4th quarter 2021 (in million U.S. dollars), STATISTA,
21 https://www.statista.com/statistics/552694/snapchat-quarterly-revenue/.
   5
22 Monica Anderson & Jingjing Jiang, Teens, Social Media & Technology 2018, PEW RESEARCH CENTER
     (May 31, 2018), https://www.pewinternet.org/wp-
23   content/uploads/sites/9/2018/05/PI_2018.05.31_TeensTech_FINAL.pdf.
     6
       Snapchat by the Numbers: Stats, Demographics & Fun Facts, OMNICORE (March 2, 2022),
24   https://www.omnicoreagency.com/snapchat-
     statistics/#:~:text=On%20average%2C%20people%20spend%20over%2030%20minutes%20on%20Sna
25   pchat%20and%20send%2034.1%20messages%20a%20day.
     7
26     Id at 109.
     8
       See, e.g., Leah Moyle, et al., #Drugsforsale: An exploration of the use of social media and encrypted
27   messaging apps to supply and access drugs, 63 INTERNATIONAL JOURNAL OF DRUG POLICY (Jan. 2019),
     https://doi.org/10.1016/j.drugpo.2018.08.005.
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                                    L.W. v. Snap Inc. et al. – COMPLAINT
     Case 3:22-cv-00619-LAB-DEB         Document 1 Filed 05/02/22          PageID.10      Page 10 of
                                                46

 1        40. Moreover, Snapchat’s ephemeral messaging function furnishes a level of intimacy
 2 between users.9 Critically, Snapchat’s disappearing messaging is intended to entice users
 3 to share highly personal photos and information that many users would otherwise feel
 4 uncomfortable sharing on “higher-stake” apps such as Instagram.”10
 5        41. Also, because of these designs, users perceive Snapchat to have less formal
 6 interactions than other social media, studies have also found that the “close ties” generated
 7 between teenagers on the app foster the conditions for social grooming and other predatory
 8 behavior.11
 9
10       SNAP’S CSAM DETECTION TECHNOLOGY IS A POOR FIT FOR ITS PLATFORM AND IS
11                          INEFFECTIVE TO PREVENT SEXUAL GROOMING
12
13        42. Sexual grooming is different from CSAM distribution of in several aspects.
14 Sexual grooming involves a 1:1 relationship built through “a process of exploiting trust to
15 shift expectations of what safe behavior is and leveraging fear and shame to keep a child
16 silent.”12 According to Thorn, the organization that tackles the problems of CSAM,
17 “[g]rooming relies on exploiting insecurities and trust, and in an online setting trust can be
18 built through a variety of methods. Children are able to build new relationships that are
19 completely decontextualized from every other aspect of their lives. Any content produced
20 as a result of grooming can then be used to threaten and blackmail a child, playing on a
21 child’s fear of getting in trouble, to force the victim into performing more acts which can
22
     9
23     See Evelyn Lopez, et al., The Gratifications of Ephemeral Marketing Content, the Use of Snapchat by
     the Millennial Generation and Their Impact on Purchase Motivation, GLOBAL BUSINESS REVIEW
24   (2021), https://journals.sagepub.com/doi/pdf/10.1177/09721509211005676.
     10
        See id.
25   11
        See Vivek K. Singh, et al., “They basically like destroyed the school one day”: On Newer App
26   Features and Cyberbullying in Schools, RESEARCHGATE – Conference Paper (Feb. 2017),
     https://wp.comminfo.rutgers.edu/vsingh/wpcontent/uploads/sites/110/2020/02/CSCW_CameraReady_Si
27   ngh_Radford.pdf.
     12
        Online Grooming: What it is, How it Happens, and How to Defend Children, THORN,
28   https://www.thorn.org/blog/online-grooming-what-it-is-how-it-happens-and-how-to-defend-children/
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                                 L.W. v. Snap Inc. et al. – COMPLAINT
     Case 3:22-cv-00619-LAB-DEB         Document 1 Filed 05/02/22        PageID.11      Page 11 of
                                                46

 1 become increasingly explicit.”13
 2        43. At all relevant times, the dangers and prevalence of online child sexual grooming
 3 have been well-known to tech giants like Defendants.
 4        44. In November 2019, a bipartisan group of Senators sent a letter to 36 leading tech
 5 companies, including Snapchat, Apple, Inc. (“Apple”) and Google LLC (“Google”). In the
 6 letter, a Senate Committee asked questions specifically addressing online sexual grooming
 7 of children and CSAM detection technologies, including: 14
 8                  What measures have you taken to ensure that steps to improve the privacy
 9                    and security of users do not undermine efforts to prevent the sharing of
10                    CSAM or stifle law enforcement investigations into child exploitation?
11
12                  Have you implemented any technologies or techniques to automatically
13                    flag CSAM that is new or has not been previously identified, such as the
14                    use of machine learning and image processing to recognize underage
15                    individuals in exploitative situations?
16
17                  If your platform(s) include a search engine, please describe the
18                    technologies and measures you use to block CSAM from appearing in
19                    search results.
20
21                  What, if any, proactive steps are you taking to detect online grooming of
22                    children?
23
24        45. In July 2020, ParentsTogether, a national parent group, delivered a petition from
25 100,000 parents to Snap demanding that the company do more to “protect children from
26
     13
27      Id.
     14
        Letter to Sundar Pichai and 36 other Tech Companies by Senate Committee (November 18, 2019),
28   https://www.blumenthal.senate.gov/imo/media/doc/11.18.19%20-%20Google%20-%20CSAM.pdf
                                                     9
                                L.W. v. Snap Inc. et al. – COMPLAINT
     Case 3:22-cv-00619-LAB-DEB          Document 1 Filed 05/02/22           PageID.12      Page 12 of
                                                 46

 1 grooming, sexual abuse, and exploitation on Snapchat.”15
 2        46. The petition flagged examples of widespread online sexual grooming of children
 3 including:
 4                  A high school coach in New Mexico used Snapchat to extort sexual videos
 5                     from several girls as young as 14.
 6
 7                  A Cleveland man posed as a therapist and blackmailed a 13-year-old girl
 8                     into sending him sexual videos and photos.
 9
10                  A Virginia man was arrested for running a “sextortion” ring on Snapchat,
11                     coercing children into sending sexually explicit material.
12
13        47.   In response, Snap announced that it would adopt Google’s Child Sexual Abuse
14 Imagery Match (hereinafter “CSAI Match”) technology in addition to Microsoft’s Photo
15 DNA to scan videos for child pornography by Fall 2020.16
16        48.   However, CSAI Match and PhotoDNA are ineffective when it comes to
17 preventing child sexual grooming. This is because sexual grooming generates new CSAM
18 that would not have been previously identified.17 Because these CSAM are new when
19 produced and distribute over Snapchat, they would not “match” previously known CSAM
20 in an existing database.
21        49.   Simply put, the CSAI Match and PhotoDNA match chops the potentially
22 problematic photo or video frame (numerous photos) into a string of numbers (hence,
23
24   15
        Snapchat: Prevent Pedophiles from Sharing Abuse Videos, https://parents-together.org/snapchat-
     petition/
25   16
        Our Transparency Report for the First Half of 2021, SNAP INC. (Nov. 22, 2021), https://snap.com/en-
26   US/safety-and-impact/post/our-transparency-report-for-the-first-half-of-2021.
     17
        Voluntary Principles to Counter Online Child Sexual Exploitation and Abuse, DEPARTMENT OF
27   JUSTICE, https://www.justice.gov/opa/press-release/file/1256061/download (accessed on March 28,
     2022).
28
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                                 L.W. v. Snap Inc. et al. – COMPLAINT
     Case 3:22-cv-00619-LAB-DEB            Document 1 Filed 05/02/22            PageID.13       Page 13 of
                                                   46

 1 likened to a DNA). Then, it compares those numbers to the database of previously flagged
 2 CSAM photos and videos that are also chopped down to a string of numbers. If there is a
 3 match, then the model would determine that the photo or video frame is CSAM material.18
 4        50.   Snap states that it is “using CSAI Match technology to identify known illegal
 5 images and videos of CSAM and report them to the National Center for Missing and
 6 Exploited Children (NCMEC).”19
 7        51.   Upon information and belief, CSAM detection technology like PhotoDNA and
 8 CSAI Match is thus a poor fit to prevent sexual grooming on Snapchat. First, sexual
 9 grooming results in the production of new, previously unknown CSAM material that lacks
10 a reference point for a match in any database, hence, PhotoDNA and CSAI Match would
11 not be helpful. Second, because the newly produced CSAM material does not match
12 anything in the existing database, Snap’s enforcement relies upon reports form individual
13 users who have been harmed, an inherently reactive approach that waits until a child is
14 harmed and places the burden on the child to voluntarily report their own abuse.
15        52.   Moreover, even in detecting CSAM that has been previously known and
16 identified in a database, social media companies like Snap. that operate at major scale with
17 “billions of daily uploads” may prioritize factors like “efficiency” (i.e., cost and scalability)
18 and “distinctness” (i.e., more specificity) while compromising other factors like
19 “tolerance” (i.e., less specificity) of the detection model, potentially resulting in under-
20 reporting of actual incidents of CSAM distribution.20
21
     18
22      This is a process called “hashing.” For a fuller explanation, see Hany Farid, An Overview of
     Perceptual Hashing, Journal of Online Trust and Safety (October 2021) at 2-3, Stanford Internet
23   Observatory, https://tsjournal.org/index.php/jots/article/download/24/14
     19
        NCMEC, Google and Image Hashing Technology, GOOGLE,
24   https://safety.google/intl/en_nz/stories/hash-matching-to-help-ncmec/ (accessed on March 28, 2022).;
     Our Transparency Report for the First Half of 2021, SNAP INC. (Nov. 22, 2021), https://snap.com/en-
25   US/safety-and-impact/post/our-transparency-report-for-the-first-half-of-2021.
     20
26      See Hany Farid, An Overview of Perceptual Hashing, Journal of Online Trust and Safety (October
     2021) at 10, Stanford Internet Observatory, https://tsjournal.org/index.php/jots/article/download/24/14
27   “In practice, the choice of a hash is based on a number of factors, including: 1. Scale. When operating at
     the scale of a major social media platform, for example, with billions of daily uploads, any hash must be
28   highly efficient and distinct. At this scale, even a 1/100 or even 1/10,000 false positive rate (incorrectly
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                                   L.W. v. Snap Inc. et al. – COMPLAINT
     Case 3:22-cv-00619-LAB-DEB             Document 1 Filed 05/02/22           PageID.14      Page 14 of
                                                    46

 1    SNAP FALSELY REPRESENTS THAT IT COLLECTS MULTIPLE DATA TO ENHANCE USER
 2 SAFETY. INSTEAD, IT PROFITS FROM USER DATA COLLECTION AND ILLEGAL ACTIVITY
 3                                              ON ITS PLATFORM.

 4
 5          53.   Snap collects troves of information and data from its users.21 According to Snap,
 6 users “provide us whatever information you send through our services, such as Snaps and
 7 Chats.”22
 8          54.   Information Snap obtains when users use their services include the following: (1)
 9 usage information (how the user communicates with other users, such as their names, the
10 time and date of any communications); 23 (2) content information (whether the user viewed
11 content, and meta data “information about a Snap and Chat such as the date, time, sender,
12 and receiver.”);24 (3) device information; (4) device phonebook; (5) camera and photos; (6)
13 precise location information; (7) information collected by cookies and other technologies;
14 and (8) log information.25
15          55.   Snap claims to use this information for a variety of purposes, including to: (1)
16 “enhance the safety and security of our products and services”; (2) “verify your identity
17 and prevent fraud or other unauthorized or illegal activity”; and (3) “enforce, investigate,
18
19 matching two images) is untenable. 2. Tolerance. When trying to limit the upload of, for example, legal
     adult pornography, resilience may be less important than, for example, trying to limit child sexual abuse
20 imagery (CSAM). . . .”
     21
          Snap uses information it collects for many different purposes, including “provide and improve our
21 advertising services, ad targeting, and ad measurement, including through the use of your precise
22 location information (again, if you’ve given us permission to collect that information), both on and off
     our services.” Snap Inc., Privacy Policy, SNAP INC. (Nov. 17, 2021), https://www.snap.com/en-
23   US/privacy/privacy-policy.
     22
        Id.
24   23
        Id. Snap’s privacy policy states that it collects information about “how you communicate with other
     Snapchatters, such as their names, the time and date of your communications, the number of messages
25   you exchange with your friends, which friends you exchange messages with the most, and your
26   interactions with messages (such as when you open a message or capture a screenshot).”
     24
        Snapchat Support: Snap and Chat Metadata, SNAP INC., https://support.snapchat.com/en-
27   US/article/snap-chat-metadata (accessed on March 28, 2022).
     25
        Id.
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                                    L.W. v. Snap Inc. et al. – COMPLAINT
     Case 3:22-cv-00619-LAB-DEB            Document 1 Filed 05/02/22         PageID.15      Page 15 of
                                                   46

 1 and report conduct violating our Terms of Service and other usage policies, respond to
 2 requests from law enforcement, and comply with legal requirements.”26
 3          56.   The troves of data and information about its users would enable Snap to detect
 4 and take actions to prevent instances of grooming and CSAM distribution, but Snap has
 5 failed to do so.
 6          57.   Yet, Snap continues to make false representations that “[w]e report all instances
 7 of child sexual exploitation to authorities.” This is untrue.
 8          58.   The following is on Snapchat’s Community Guidelines that outline the Terms of
 9 Service:
10                       The key is the spirit of these rules: we want Snapchat to be a safe and
11                       positive experience for everyone. We reserve the right to decide, in our
12                       sole discretion, what content violates that spirit and will not be permitted
13                       on the platform.
14
15                       Sexually Explicit Content
16                       We prohibit accounts that promote or distribute pornographic content.
17                       We report all instances of child sexual exploitation to authorities.
18
19                       Never post, save, or send nude or sexually explicit content involving
20                       anyone under the age of 18 — even of yourself. Never ask a minor to
21                       send sexually explicit content.
22
23          59.   As L.W.’s experience clearly demonstrates, Snap/Snapchat does not report all
24 instances of child sexual exploitation to authorities, and has clearly exercised its purported
25 “right to decide in their sole discretion” not to do so.
26          60.    According to their Terms of Service in place on September 26, 2017, February
27
28   26
          Privacy Policy, SNAP INC. (Nov. 17, 2021), https://www.snap.com/en-US/privacy/privacy-policy.
                                                        13
                                   L.W. v. Snap Inc. et al. – COMPLAINT
     Case 3:22-cv-00619-LAB-DEB         Document 1 Filed 05/02/22          PageID.16      Page 16 of
                                                46

 1 18, 2019, and from October 30, 2019 until September 30, 2021, Snap clearly gives
 2 themselves permission to monitor, filter, and moderate user content at “any time for any
 3 reason.”
 4                  While we’re not required to do so, we may access, review, screen, and
 5                    delete your content at any time and for any reason, including to provide
 6                    and develop the Services or if we think your content violates these Terms.
 7                    You alone, though, remain responsible for the content you create, upload,
 8                    post, send, or store through the Service.27
 9
10        61.   Snap wields a great deal of discretion, specifically with respect to moderating,
11 screening, and deleting user content.
12        62.   Snap’s purported justification for collecting valuable user data is to enhance
13 security, detect illegal activity, and enforce community guidelines against violators. But,
14 contrary to their representation, Snap’s goal of collecting user data is not for user security
15 and protection from illegal activities. Instead, Snap collects user data for advertisement
16 purposes, which it openly profits from while many of its users are exposed to unsafe and
17 unprotected situations on its app.
18        63.   Snap also collects user data which translates into advertisement profit, in
19 consideration for (which is the legal contract speak for “trading value for”) users to access
20 the platform.28
21                  The Services may contain advertisements. In consideration for Snap Inc.
22                    letting you access and use the Services, you agree that we, our affiliates,
23                    and our third-party partners may place advertising on the Services.
24
25   27
        https://snap.com/en-US/terms (versions September 26, 2017, February 18, 2019, and October 30,
26   2019)
     28
        See Opp. To Motion to Dismiss by Plaintiffs’ attorney, Lee Davis in BAILEY ZIENCIK, ET AL.‘S
27   MEMORANDUM OF POINTS & AUTHORITIES IN OPPOSITION TO SNAP, INC’S MOTION TO
     DISMISS PLAINTIFFS’ COMPLAINT, Case No.: 2:21-cv-7292-DMG-PD (C.D.Cal) Doc 50-1
28   (11/19/21)
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                                 L.W. v. Snap Inc. et al. – COMPLAINT
     Case 3:22-cv-00619-LAB-DEB            Document 1 Filed 05/02/22          PageID.17      Page 17 of
                                                   46

 1                       Because the Services contain content that you and other users provide us,
 2                       advertising may sometimes appear near your content.
 3
 4          64.    Perpetrators like B.P. are in a continuous business relationship with Snap Inc.
 5 Snap provides users like B.P. access to Snapchat platform in exchange for collecting user
 6 data which translates into advertisement profit.
 7          65.    Snap gains $31 in average revenue for every daily user on Snapchat platform in
 8 North America.29 Because each user (and their data) is worth money, Snapchat benefits
 9 financially from users committing sexual crimes against children on its platform.
10          66.    By engaging in unfair, deceptive business practices as described above, and by
11 enabling sexual predators to perpetrate crimes against minor children while financially
12 benefitting from the same, Snap has caused severe harm to Plaintiff L.W. and putative
13 Class members.
14
15   APPLE’S APP STORE AND GOOGLE PLAY PROMOTE, PARTICIPATE, AND BENEFIT FROM
16          APPS THAT ARE KNOWN TO FACILITATE CSAM DISTRIBUTION, LIKE CHITTER.
17
18          67.    Plaintiff brings claims against Apple and Google for enabling, recommending,
19 and steering users on Apple’s App Store (“App Store”) and Google’s Play Store (“Google
20 Play”) to the Chitter, which was used by B.P. to distribute CSAM depicting L.W.
21          68.    Chitter is an application that connects two random users at which time and
22 allows the transmission of anonymous messages, photos, and videos.
23          69.    Chitter has gained notoriety for attracting users who seek to trade CSAM.
24          70.    On Chitter, B.P transmitted Plaintiff’s photos and videos that contain CSAM to
25 other users, and received other CSAM in exchange.
26
27
     29
          Average Revenue Per User - April 2022 Investor Presentation at 35, Snap Inc., Q1 2022 Investor
28 Deck (q4cdn.com)
                                                         15
                                    L.W. v. Snap Inc. et al. – COMPLAINT
     Case 3:22-cv-00619-LAB-DEB             Document 1 Filed 05/02/22           PageID.18      Page 18 of
                                                    46

 1          71.    According to Google Play and Apple’s App Store, Chitter is developed by a
 2 company listed as “Chitter.to Inc.” which, upon information and belief, is a company
 3 located and operated from outside of the U.S.
 4          72.    Chitter is readily downloadable by users within the United States through
 5 Google Play and Apple’s App Store. 30
 6          73.    Chitter sells in-app products to users for $4.99 to $48.99 per item.
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                                  [Image: Chitter App on Google App Store]
18
19          74.    Chitter is not a Defendant in this action. Plaintiff is bringing an action against
20 Apple and Google for enabling, recommending, and steering users to Chitter. Apple and
21 Google have engaged in continuous business relationships with, and financially benefitted
22 from, Chitter being sold on the respective digital marketplaces.
23
24
25
26
27
     30
          Chitter on Google Play Store, https://play.google.com/store/apps/details?id=chitter.anonymous.chat;
28 Chitter on Apply App Store, https://apps.apple.com/us/app/chitter-anonymous-chat/id1437897677
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                                    L.W. v. Snap Inc. et al. – COMPLAINT
     Case 3:22-cv-00619-LAB-DEB         Document 1 Filed 05/02/22          PageID.19      Page 19 of
                                                46

 1          APPLE BUILDS TOOLS THAT STEER USERS TO CHITTER, DEVELOPS ANALYTIC
 2        ALGORITHMS THAT FAIL TO MONITOR APP QUALITY, AND FINANCIALLY BENEFITS
 3                               FROM ILLEGAL ACTIVITY ON CHITTER

 4
 5         75.   Apple’s App Store is a digital distribution platform where individuals can buy
 6 and download digital software and applications. The platform is operated and developed
 7 by Apple.
 8         76.   More than half a billion users access the App Store each week.
 9         77.   In 2021, Apple is estimated to have generated $85.1 billion in gross app revenue
10 globally.31
11         78.   Apple charges a 30 percent commission to apps on App Store sales, including in-
12 app purchases and subscriptions.32 In November 2020, Apple introduced the App Store
13 Small Business Program, which cut the commission rate to 15 percent for all developers
14 making less than $1 million per year.33
15         79.   Chitter is an app that sells in-app products ranging “$4.99 - $48.99 per item.”
16 Apple benefits from a commission from these in-app sales.34 In this way, Chitter and Apple
17 maintain a continuous business relationship, and Apple gains financial benefit from
18 Chitter’s activities.
19         80.   When a user launches the App Store application on their device, the user is
20 informed of the guidelines, terms of service, and privacy policy through a pop-up
21 notification window that the user is prompted to read and click “OK” before the user can
22
     31
23      L. Ceci, Worldwide gross app revenue of the Apple App Store from 2017 to 2021, STATISTA (Dec. 13,
     2021), https://www.statista.com/statistics/296226/annual-apple-app-store-revenue/.
24   32
        Ryan Daws, Apple vows to collect App Store commission even through alternative payment systems,
     DEVELOPER (Jan. 18, 2022), https://www.developer-tech.com/news/2022/jan/18/apple-vows-collect-
25   app-store-commission-alternative-payment-systems/.
     33
26      Apple, US developers agree to App Store updates that will support businesses and maintain a great
     experience for users, APPLE (Aug. 26, 2021), https://www.apple.com/newsroom/2021/08/apple-us-
27   developers-agree-to-app-store-updates/.
     34
        https://play.google.com/store/apps/details?id=chitter.anonymous.chat
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                                 L.W. v. Snap Inc. et al. – COMPLAINT
     Case 3:22-cv-00619-LAB-DEB            Document 1 Filed 05/02/22            PageID.20       Page 20 of
                                                   46

 1 access the Store.
 2        81.   Apple’s App Store’s Policy overtly informs consumers that Apple is managing
 3 and gaining information about users and their interaction with apps sold on the App Store
 4 from users’ input: “To make better recommendations, we . . . aggregate information about
 5 app ratings.”35
 6        82.   Apple’s App Review Guidelines go on to say the company is “keeping an eye out
 7 for kids,” it will “reject apps for any content or behavior that we believe is over the line,”
 8 and that apps are required to have protective measures for filtering out anonymous content
 9 and abusive users.36
10
     35
11      Apple App Store & Privacy, https://www.apple.com/legal/privacy/data/en/app-store/
     “Personalizing the Stores: We use your interactions with the App Store to help you discover the content
12   that’s most relevant to you. For example, we recommend content that we think will be of interest to you
     based on what you’ve previously searched for, viewed, downloaded, updated, or reviewed in the App
13   Store. We also use your purchase history, including in-app purchases, subscriptions, and payment methods
     together with account information derived from your Apple ID. To make better recommendations, we also
14
     use aggregate information about app launches, installs, and deletions from users who choose to share
15   device analytics with Apple and aggregate information about app ratings. The App Store uses local, on-
     device processing to enhance our recommendations. Using app usage data stored on your device — such
16   as the apps you frequently open, the time you spend using certain apps, and your app installs and uninstalls
     — the App Store can suggest apps and in-app events that are more relevant to you. The information Apple
17   receives about your usage of the stores includes information about the personalized content you tap and
18   view.”
     36
        App Store Review Guidelines, https://developer.apple.com/app-store/review/guidelines/
19   “So know that we’re keeping an eye out for the kids.
     We will reject apps for any content or behavior that we believe is over the line. What line, you ask? Well,
20   as a Supreme Court Justice once said, “I’ll know it when I see it”. And we think that you will also know
     it when you cross it.
21   1.1.4 Overtly sexual or pornographic material, defined by Webster’s Dictionary as “explicit descriptions
22   or displays of sexual organs or activities intended to stimulate erotic rather than aesthetic or emotional
     feelings.”
23   Apps with user-generated content present particular challenges, ranging from intellectual property
     infringement to anonymous bullying.
24   To prevent abuse, apps with user-generated content or social networking services must include:
     A method for filtering objectionable material from being posted to the app
25   A mechanism to report offensive content and timely responses to concerns
26   The ability to block abusive users from the service
     Published contact information so users can easily reach you Apps with user-generated content or services
27   that end up being used primarily for pornographic content, Chatroulette-style experiences, objectification
     of real people (e.g. “hot-or-not” voting), making physical threats, or bullying do not belong on the App
28   Store and may be removed without notice. If your app includes user-generated content from a web based
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                                   L.W. v. Snap Inc. et al. – COMPLAINT
     Case 3:22-cv-00619-LAB-DEB          Document 1 Filed 05/02/22           PageID.21      Page 21 of
                                                 46

 1       83.    Users of the App Store have posted the following reviews and ratings regarding
 2 Chitter on the App Store page:
 3               “It seems and tho 99 percent of the females are under 18 . . . there are a lot of
 4                 creeps here. Especially looking to chat up underage girls.”
 5
 6               “they’re sooo many pedophiles and s[e]x addicts. . . the app needs to be more
 7                 aware of these types of people because grooming toward minors does exist.
 8                 I’m a victim of it. I would hate for a child to stumble on the app”
 9
10               “all of the users that had their age as a display were underage . . . this is a
11                 pedophillic rats nest and should be shut down immediately.”
12
13               “something traumatic happened for me on this app, a user trying to send me
14                 underaged photos of children. I was terrified and disgusted.”
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     service, it may display incidental mature “NSFW” content, provided that the content is hidden by default
28 and only displayed when the user turns it on via your website.”
                                                       19
                                 L.W. v. Snap Inc. et al. – COMPLAINT
     Case 3:22-cv-00619-LAB-DEB   Document 1 Filed 05/02/22   PageID.22   Page 22 of
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                           L.W. v. Snap Inc. et al. – COMPLAINT
     Case 3:22-cv-00619-LAB-DEB    Document 1 Filed 05/02/22      PageID.23    Page 23 of
                                           46

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13            84.     Apple also develops and maintains a recommendation tool that steers
14        its App Store users to Chitter. For example, when a user is browsing an app that is
15        related to anonymous chats and dating apps, the App Store may recommend Chitter
16        to a user by displaying it on the “You Might Also Like” section steering App Store
17        users to download Chitter.
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                            L.W. v. Snap Inc. et al. – COMPLAINT
     Case 3:22-cv-00619-LAB-DEB      Document 1 Filed 05/02/22        PageID.24    Page 24 of
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        85.    Although Apple overtly represents that it has an analytics system in place that
 9
     collects user input and ratings and “keeping an eye out for kids”; concretely states it would
10
     reject apps that perpetuate child abuse and sexually explicit conduct; and despite its
11
     awareness of reviews posted on the App Store that try to warn, inform, and elevate
12
     individual concerns about CSAM and child sexual exploitation on the Chitter app, Apple
13
     continues to sell and recommend the app to users.
14
        86.    All the while, Apple derives financial benefit and has a continuous business
15
     relationship with Chitter by taking commission from Chitter’s in-app purchases and by
16
     gaining data from Apple’s users that it collects for advertisement and data revenue.
17
       GOOGLE PLAY STORE BUILDS TOOLS THAT STEER USERS TO CHITTER, DEVELOPS
18
      ANALYTIC ALGORITHMS THAT FAIL TO PERFORM TASKS TO MONITOR APP QUALITY,
19
                       AND BENEFITS FROM ILLEGAL ACTIVITY ON CHITTER
20
21
        87.    Google Play, also branded as the Google Play Store, is a digital distribution
22
     platform where individuals can buy and download digital software and applications. The
23
     platform is operated and developed by Google. Approximately 71 percent of all
24
     smartphone users are on the Android operating system, which gives them access to Google
25
     Play. More than 1 billion users use Google Play, making it a leading app store.
26
        88.    As of January 1, 2022, Google Play has two tiers of service fees that it charges
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                              L.W. v. Snap Inc. et al. – COMPLAINT
     Case 3:22-cv-00619-LAB-DEB         Document 1 Filed 05/02/22          PageID.25        Page 25 of
                                                46

 1 app developers for in-app products.37
 2        89.   A 15 percent commission is charged to small app developers for the first $1
 3 million of earnings each year, and a 30 percent commission is charged to large app
 4 developers for earnings more than $1 million.38
 5        90.   Google also charges a one-time fee of $25 to become a Google Play developer,
 6 which allows the developer to publish apps on the platform.
 7        91.   Chitter is an app that sells in-app products ranging “$4.99 - $48.99 per item.”
 8 Google benefits from a commission from these in-app sales. In this way, Chitter and
 9 Google Play maintain a continuous business relationship, and Google gains financial
10 benefit from Chitter’s activities.
11        92.   Google’s privacy policy overtly informs consumers that Google collects data to
12 “help improve the safety and reliability of [its] service.”39 Google goes on to say that it
13 “uses information like apps you’ve already installed and videos you’ve watched on
14 Youtube to suggest new apps you might like.”40
15        93.   According to Google, it “use[s] automated systems that analyze your content to
16 provide you with things like customized search results . . . and we analyze your content to
17 help us detect abuse such as spam, malware, and illegal content. We also use algorithms to
18 recognize patterns in data.”41
19        94.   Google’s Developer Policy states that it will “immediate[ly] remov[e] from its
20 Store Apps that include content that sexualizes minors, including but not limited to, apps
21 that promote pedophilia or inappropriate interaction targeted at a minor.”42 Google goes on
22 to list concrete sexual content and profanity, which, if found to be contained on apps, it
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24   37
        Service Fees, GOOGLE (2022), https://support.google.com/googleplay/android-
     developer/answer/112622?hl=en.
25   38
        Id.
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26      Privacy Policy, Google, https://policies.google.com/privacy#infocollect
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        Privacy Policy, Google, https://policies.google.com/privacy#infocollect
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27      Privacy Policy, Google, https://policies.google.com/privacy#infocollect
     42
        Policy Center, Child Endangerment, https://support.google.com/googleplay/android-
28   developer/answer/9878809?hl=en&ref_topic=9877466
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                                 L.W. v. Snap Inc. et al. – COMPLAINT
     Case 3:22-cv-00619-LAB-DEB            Document 1 Filed 05/02/22          PageID.26       Page 26 of
                                                   46

 1 would disallow from its Store. The list includes depictions of “sexual nudity,” “sexually
 2 suggestive poses,” “sexual depiction of body parts,” and content that has “explicit text,
 3 adult/sexual keywords” used “in-app.”
 4         95.    According to its statements, Google prohibits apps that feature User Generated
 5 Content that contains sexual content and child endangerment material, even if it is
 6 incidental to the functions of the app.43
 7         96.    Google represents that “Apps that end up being used primarily for hosting
 8 objectionable U[ser] G[enerated] C[ontent], or that develop a reputation among users of
 9 being a place where such content thrives, will also be removed from Google Play.”44
10         97.    Google Play Store also asserts that it monitors apps and its customers’ ratings
11 “based on the app’s current quality ratings from user reviews.”45
12         98.    Users of Google Play have posted the following reviews and ratings on the
13 Google Play Store regarding Chitter:
14                 “This is regularly used to trade child p[or]n.” This review received a boost
15                    from 51 other users.
16
17                 “It’s just a bunch of horny people like omegle and chatroulette . . . and there
18                    are a lot of minors.”
19
20                 “in fact probably a paedophile, considering the message they sent me.”
21
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     43
          Policy Center, User Generated Content, https://support.google.com/googleplay/android-
24 developer/answer/9876937?hl=en&ref_topic=9877466 (“Incidental Sexual Content – Sexual content is
     considered “incidental” if it appears in a UGC app that (1) provides access to primarily non-sexual
25 content, and (2) does not actively promote or recommend sexual content. Sexual content defined as
26 illegal by applicable law and child endangerment content are not considered “incidental” and are not
     permitted.”)
     44
27      Policy Center, User Generated Content, https://support.google.com/googleplay/android-
     developer/answer/9876937?hl=en&ref_topic=9877466.
28   45
        Ratings & Review on the Play Store, https://play.google.com/about/comment-posting-policy/
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                                   L.W. v. Snap Inc. et al. – COMPLAINT
     Case 3:22-cv-00619-LAB-DEB      Document 1 Filed 05/02/22   PageID.27    Page 27 of
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14      99.    Google also developed customized search tools that recommend the app Chitter
15 to Google Play users. For example, when a user is browsing for “anonymous new people”
16 apps, Google Play may recommend the app Chitter to a user as one of the top 7 apps listed
17 despite its reputation as a haven for child sex predators.
18
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26                   [Image: Google Play Customized App Search Result for
27                          Search Term “Anonymous new people”]
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                              L.W. v. Snap Inc. et al. – COMPLAINT
     Case 3:22-cv-00619-LAB-DEB      Document 1 Filed 05/02/22       PageID.28     Page 28 of
                                             46

 1      100.    Although Google overtly represents it is collecting user data; analyzes current
 2 reviews to detect illegal content, and concretely states it would remove apps that host user
 3 generated content that contain child abuse and sexually explicit conduct; and despite its
 4 awareness of user reviews posted on Google’s App Store that warn, inform, and elevate
 5 concerns about CSAM distribution and child sexual exploitation happening on Chitter,
 6 Google continues to sell and recommend the app to users using its analytics system, sales
 7 platform, and customized search results.
 8      101.    All the while, Google derives financial benefit and has a continuous business
 9 relationship with Chitter, by taking commission from its in-app purchases through Google
10 Play and by collecting data from Google’s users that translates to advertisement profit and
11 data revenue.
12                                           PARTIES
13      102.    Plaintiff, L.W. through her legal guardian Jane Doe, brings this action, on behalf
14 of herself and similarly-situated putative class members (“Plaintiff Class” or “Class”). At
15 all relevant times, Plaintiff L.W. was a resident and a citizen of California and resides in
16 San Diego where the alleged harms took place. Plaintiff L.W. brings this suit on behalf of
17 herself and all other similarly situated minor users of Defendants’ apps that comprise the
18 putative Class, and brings this class action against each and all of the Defendants.
19      103.    Plaintiff L.W. and her legal guardian Jane Doe requests that this Court permit
20 her to proceed under a pseudonym (“L.W.” and “Jane Doe” respectively). If required by
21 the Court, she will seek permission to proceed under the pseudonyms. The use of
22 pseudonyms are necessary to preserve privacy in a matter of sensitive and highly personal
23 nature given that the allegations detailed herein relate to Plaintiff’s experience as a victim
24 of child sex trafficking and child pornography. Plaintiff’s sensitive and personal
25 experiences were not the result of any voluntary undertaking on her part, and neither the
26 public, nor the Defendant, will be prejudiced by Plaintiff’s identity remaining private.
27      104.    Defendant Snap Inc. is a Delaware Corporation with its principal place of
28 business in Santa Monica, California, doing business in California as Snapchat Inc.
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                              L.W. v. Snap Inc. et al. – COMPLAINT
     Case 3:22-cv-00619-LAB-DEB       Document 1 Filed 05/02/22      PageID.29    Page 29 of
                                              46

 1      105.    Defendant Apple Inc. is a California corporation with its principal place of
 2 business in Cupertino, California. Apple owns and operates the Apple App Store, including
 3 contracting with all app developers that distribute their apps through the App Store.
 4      106.    Defendant Google LLC is a Delaware limited liability company with its
 5 principal place of business in Mountain View, California. Google LLC contracts with all
 6 app developers that distribute their apps through the Google Play Store and is therefore a
 7 party to the anti-competitive contractual restrictions at issue in this Complaint.
 8                                  JURISDICTION AND VENUE
 9      107. This Court has diversity jurisdiction over this class action pursuant to 28 U.S.C.
10 § 1332(d)(2) because the matter in controversy, exclusive of interest and costs, exceeds
11 $5,000,000 and is a class action in which some putative members of the Class may be
12 citizens of states different from the states where Defendants are citizens.
13      108. This Court has federal question jurisdiction over Trafficking Victims Protection
14 Act (“TVPRA”), 18 U.S.C. § 1595(a), permitting “an individual who is a victim of a
15 violation of this chapter” to bring a civil action in “an appropriate district court of the
16 United States.”
17      109. Venue is proper in this Court pursuant to 28 U.S.C. § 1391 because it is where
18 Plaintiff L.W. resides and many of the acts and transactions giving rise to this action
19 occurred in this District as Defendants are: (a) authorized to conduct business in this
20 District and has intentionally availed itself to the laws and markets within this District
21 through the promotion, marketing, distribution and sale of its products in this District; (b)
22 currently conducting substantial business in this District; and (c) are subject to personal
23 jurisdiction in this District.
24                              CLASS ACTION ALLEGATIONS
25      110.      Plaintiff brings this class action on behalf of herself and Class Members
26 pursuant to Rule 23 of the Federal Rules of Civil Procedure.
27      111.      Plaintiff seeks to represent a “Snapchat Class” defined as follows: All United
28 States residents who are or were registered users of Snapchat between May 2, 2012 and the
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                               L.W. v. Snap Inc. et al. – COMPLAINT
     Case 3:22-cv-00619-LAB-DEB     Document 1 Filed 05/02/22        PageID.30     Page 30 of
                                            46

 1 date of judgment in this action, who were under the age of 18 when they appeared in a
 2 video or image that has been uploaded or otherwise made available for viewing by
 3 transmission to another user on Snapchat, excluding Defendant, Defendant’s officers,
 4 directors, and employees, Defendant’s subsidiaries, the Judge to which this case is assigned
 5 and the immediate family of the Judge to which this case is assigned.
 6      112.     Plaintiff additionally seeks to represent an “Apple Class” defined as follows:
 7 All United States residents who, between May 2, 2012 and the date of judgment in this
 8 action, were under the age of 18 when they appeared in a video or image that has been
 9 uploaded or otherwise made available for viewing on a Computer Application sold or listed
10 for download on Apple’s App Store, excluding Defendant, Defendant’s officers, directors,
11 and employees, Defendant’s subsidiaries, the Judge to which this case is assigned and the
12 immediate family of the Judge to which this case is assigned.
13      113.     Plaintiff additionally seeks to represent a “Google Class” defined as follows:
14 All United States residents who, between May 2, 2012 and the date of judgment in this
15 action, were under the age of 18 when they appeared in a video or image that has been
16 uploaded or otherwise made available for viewing on a Computer Application sold or listed
17 for download on the Google Play Store, excluding Defendant, Defendant’s officers,
18 directors, and employees, Defendant’s subsidiaries, the Judge to which this case is assigned
19 and the immediate family of the Judge to which this case is assigned.
20      114.     Plaintiff reserves the right to re-define any of the Class definitions prior to
21 class certification or thereafter, including after having the opportunity to conduct
22 discovery.
23      115.     Plaintiff is a member of the putative class that she seeks to represent.
24      116.     The definition of the putative class is narrowly tailored to include only persons
25 who can be identified through Defendants’ database of registered users for the appropriate
26 statutory limitations period through the date of judgment in this action.
27         F.R.C.P. 23(a)
28       117.    The proposed class is so numerous that the individual joinder of all its
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                             L.W. v. Snap Inc. et al. – COMPLAINT
     Case 3:22-cv-00619-LAB-DEB        Document 1 Filed 05/02/22       PageID.31     Page 31 of
                                               46

 1    members, in this or any action, is impracticable. The exact number or identification of the
 2    members of the putative class is presently unknown to Plaintiff, but it is believed to
 3    comprise millions of United States residents throughout the nation, thereby making
 4    joinder impractical.
 5        118.     Common questions of fact and law exist as to all Class Members. These
 6    include, but are not limited to, the following:
 7 As to Class Claims against Defendant Snap
 8         (a) Whether Snap’s implementation of CSAM detection technologies including
 9               CSAI Match were a poor fit for its platform such in that it fails to prevent sexual
10               grooming and alert new, previously unknown CSAM;
11         (b) Whether Snap’s representation of CSAM detection technologies and its
12               purported rationale of collecting various user data for purposes of combatting
13               CSAM distribution and sexual crimes against children were untrue, misleading,
14               and deceptive;
15         (c) Whether Snap knew or should have known about the online child sexual
16               grooming on Snapchat and CSAM distribution;
17         (d) Whether Snap received financial benefit by engaging in a trade of valuable
18               goods with users who committed sexual crimes against children on Snapchat;
19         (e) Whether Snap failed to carry out their stated guidelines, terms of use, and
20               privacy policy related to detection and prohibition of CSAM distribution and
21               online sexual grooming of children;
22         (f) Whether Snap’s conduct resulted in harm to Plaintiff and Class members;
23 As to Class Claims against Defendant Apple
24         (g) Whether Apple’s recommendation algorithm and app monitoring analytic tools
25               were defectively designed so as to steer users to apps that foster CSAM
26               distribution;
27         (h) Whether Apple’s representation and purported reason for collecting various user
28               data (i.e. combatting CSAM and sexual crimes against children) were untrue,
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                                 L.W. v. Snap Inc. et al. – COMPLAINT
     Case 3:22-cv-00619-LAB-DEB     Document 1 Filed 05/02/22       PageID.32     Page 32 of
                                            46

 1             misleading, and deceptive;
 2        (i) Whether Apple knew or should have known about online child sexual grooming
 3             and CSAM distribution on apps sold and downloaded from the App Store;
 4        (j) Whether Apple received financial benefit by engaging in a trade of valuable
 5             goods with users who committed sexual crimes against children;
 6        (k) Whether Apple failed to carry their stated app store guidelines, terms of use, and
 7             privacy policy related to detection and prohibition of CSAM distribution and
 8             online sexual grooming of children;
 9        (l) Whether Apple’s conduct resulted in harm to Plaintiff and Class members;
10 As to Class Claims against Defendant Google
11        (m) Whether Google’s customized search tool algorithm and app monitoring
12             analytic tools were defectively designed so as to steer users to apps that foster
13             CSAM distribution;
14        (n) Whether Google’s representation and purported reasons for collecting various
15             user data (i.e. user protection from illegal CSAM and sexual crimes against
16             children) were untrue, misleading, and deceptive;
17        (o) Whether Google knew or should have known about child sexual grooming and
18             CSAM distribution on apps sold and downloaded from Google Play Store;
19        (p) Whether Google received financial benefit by engaging in a trade of valuable
20             goods with users who perpetrated sexual crimes against children;
21        (q) Whether Google failed to carry out their stated guidelines, terms of use, and
22             privacy policy related to detection and prohibition of CSAM distribution and
23             online sexual grooming of children;
24        (r) Whether Google’s conduct resulted in harm to Plaintiff and Class members; and
25        (s) Whether Plaintiffs and the Class members are entitled to an injunction, damages,
26             restitution, equitable relief and other relief deemed appropriate and the amount
27             and nature of such relief as to each and every Defendant.
28      119.   Plaintiff’s claims are typical of the claims of the putative class members.
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                             L.W. v. Snap Inc. et al. – COMPLAINT
     Case 3:22-cv-00619-LAB-DEB       Document 1 Filed 05/02/22       PageID.33     Page 33 of
                                              46

 1 Plaintiff and all putative Class members were subject to the above misrepresentations made
 2 by Defendants and all have claims based on the same legal theories against the Defendants.
 3      120.    The factual bases of Defendants’ misconduct are common to Plaintiff and the
 4 putative Class members and represent a common scheme and pattern of practice resulting
 5 in injury to all putative class members alike. Plaintiff is asserting the same rights, making
 6 the same claims, and seeking similar relief for themselves and all other putative class
 7 members.
 8      121.    Plaintiff is an adequate representative of the proposed class because she is a
 9 putative class member and does not have interests that conflict with those of the other
10 putative class members they seek to represent.
11      122.    Plaintiff is represented by experienced and able counsel, who have litigated
12 lawsuits of this complexity, and Plaintiff’s Counsel intends to prosecute this action
13 vigorously for the benefit of the proposed class. Plaintiffs and Plaintiff’s Counsel will fairly
14 and adequately protect the interests of the class members.
15         Plaintiffs’ Class Seeks Certification under F.R.C.P. 23(b)(3)
16      123.      The following issues, both legal and factual, are common to this litigation: (1)
17 the defect in Defendants’ services and products which failed to provide the minimum
18 amount of safety for users from the foreseeable harms of CSAM distribution and illegal
19 sexual crimes against children, (2) Defendants’ misrepresentations about their tools
20 developed to combat CSAM and other illegal sexual crimes against children, and (3)
21 Defendants’ liability under TVPRA.
22      124.      A class action is the superior method available for the efficient adjudication
23 of this litigation because: (a) The prosecution of separate actions by individual members
24 of the Class would create a foreseeable risk of inconsistent or varying adjudications which
25 would establish incompatible results and standards for Defendant; (b) Adjudications with
26 respect to individual members of the Class would, as a practical matter, be dispositive of
27 the interests of the other members not parties to the individual adjudications or would
28 substantially impair or impede their ability to protect their own separate interests; (c) Class
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                               L.W. v. Snap Inc. et al. – COMPLAINT
     Case 3:22-cv-00619-LAB-DEB       Document 1 Filed 05/02/22       PageID.34     Page 34 of
                                              46

 1 action treatment avoids the waste and duplication inherent in potentially thousands of
 2 individual actions, and conserves the resources of the courts; and (d) the claims of the
 3 individual class members may be relatively small compared to the burden and expense that
 4 would be required to individually litigate their claims against Defendant, so it would be
 5 impracticable for the members of the Class to individually seek redress for Defendant’s
 6 wrongful conduct. Even if the members of the Class could afford individual litigation, the
 7 court system could not. Moreover, this action is manageable as a class action.
 8 Individualized litigation creates a potential for inconsistent or contradictory judgments and
 9 increases the delay and expense to all parties and the court system. By contrast, the class
10 action device presents far fewer management difficulties, and provides the benefits of
11 single adjudication, economy of scale, and comprehensive supervision by a single court.
12         Plaintiffs’ Class Seeks Certification under F.R.C.P. 23(b)(2)
13      125.       A class action for injunctive and equitable relief pursuant to Rule 23(b)(2) of
14 the Federal Rules of Civil Procedure is also appropriate. Defendants acted or refused to act
15 on grounds generally applicable to the Class thereby making appropriate final injunctive
16 and equitable relief with respect to the Class as a whole. Defendants’ actions are generally
17 applicable to the Class as a whole, and Plaintiffs, on behalf of the Class, seeks damages
18 and injunctive relief described herein. Moreover, Defendants’ systemic policy and
19 practices make declaratory relief with respect to the Class as a whole appropriate.
20
21     FIRST CAUSE OF ACTION : STRICT LIABILITY PRODUCT DESIGN AND
22                                             DEFECT
23                      (Plaintiff on behalf of Class Against All Defendants)
24
25      126.       Plaintiff incorporates each and every allegation set forth above as if fully set
26 forth herein.
27      127.       At all times relevant to this action, Defendants were manufacturers,
28 distributors, and or retailers of the services it provided to consumers.
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                               L.W. v. Snap Inc. et al. – COMPLAINT
     Case 3:22-cv-00619-LAB-DEB       Document 1 Filed 05/02/22         PageID.35     Page 35 of
                                              46

 1      128.      A manufacturer, distributor, or retailer is liable in tort if a defect in the
 2 manufacture or design of its product causes injury while the product is being used in a
 3 reasonably foreseeable way. See Soule v. General Motors Corp. 8 Cal.4th 548, 560 (1994).
 4      129.      “[A] product is defective in design either (1) if the product has failed to
 5 perform as safely as an ordinary consumer would expect when used in an intended or
 6 reasonably foreseeable manner, or (2) if, in light of the relevant factors . . . , the benefits of
 7 the challenged design do not outweigh the risk of danger inherent in such design.” Barker
 8 v. Lull Engineering Co., 20 Cal.3d 413, 418 (1978).
 9      130.      The consumer expectation test, is not whether the product, when considered
10 in isolation, is beyond the ordinary knowledge of the consumer, but whether the product,
11 in the context of the facts and circumstances of its failure, is one about which the ordinary
12 consumers can form minimum safety expectations.” Pannu v. Land Rover NorthAmerica,
13 Inc. 191 Cal. App. 4th 1298, 1311–12 (2011).
14      131.      Defendant Snap’s platform is highly sought after by perpetrators who use
15 Snapchat to engage in 1:1 chat with minors and thereby manipulate those minors to produce
16 and transmit new, previously unknown CSAM. Victims of sexual grooming are often
17 unlikely to self-report. Thus, Snap’s implementation of CSAM detection systems such as
18 PhotoDNA and CSAI Match is a poor fit for Snap’s systems and has failed to protect
19 minors like L.W. from egregious harm.
20      132.      Defendant Snap’s announcements to implement safety measures in response
21 to senators’ and parents’ organization’s concerns regarding sexual grooming set minimum
22 safety expectations that made ordinary consumers believe it would protect minors from
23 egregious harms like the ones suffered by L.W. Yet, those safety measures are not effective
24 to prevent the foreseeable and known harms of sexual grooming and Snap failed to perform
25 its intended function.
26      133.      Defendant Apple overtly states that it is managing and gaining information
27 about apps sold on the App Store by aggregating and analyzing information from its users
28 and app ratings by consumers. Apple also develops and uses a recommendation tool, which
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                               L.W. v. Snap Inc. et al. – COMPLAINT
     Case 3:22-cv-00619-LAB-DEB       Document 1 Filed 05/02/22        PageID.36     Page 36 of
                                              46

 1 is based on aggregation of user data and recommends apps through its “You might also
 2 like” recommendation function. Apple further states that it has a system of collecting user
 3 input and ratings to “keep[] an eye out for kids” and that it would “reject apps that
 4 perpetuate child abuse.”
 5       134.     The system that Apple has developed – namely its algorithmic
 6 recommendation tool and data aggregation/analytics system – fails to serve its intended
 7 function. Despite numerous ratings and reviews by users that alert Apple about CSAM
 8 manifesting in Chitter app, Apple’s recommendation tool still suggests Chitter to App Store
 9 users. Its analytics and algorithms have failed to aggregate user data and app ratings “to
10 make better recommendations” and to control quality of apps sold on the Apple App Store.
11 These tools and algorithms failed to serve its intended function; had these tools worked,
12 Chitter, an app known to be filled with CSAM would be rejected by the Apple App Store.
13 Due to defects in its functions, minors like Plaintiff continue to suffer harm from CSAM
14 distribution. Hence, Apple is strictly liable for design defects in its services.
15       135.     Defendant Google overtly states that has developed “automated systems” and
16 “algorithms to recognize patterns in data” to provide “customized search results” and to
17 “detect illegal content.” Based on Google’s representations, user expect that Google would
18 immediately remove apps that include “content that sexualizes minors, including but not
19 limited to, apps that promote pedophilia or inappropriate interaction targeted at a minor.”
20 Google also states that it takes user data, reviews and ratings to monitor the app’s current
21 quality ratings. Google concretely represented that apps that are used for CSAM
22 distribution or that develop a reputation among users for featuring CSAM would be
23 removed from Google Play store.
24       136.     The automated system(s) that Google has developed – namely its customized
25 search tool and data aggregation/analytics system – fails to serve its intended function and
26 is thus defectively designed. Despite numerous ratings and reviews by users that alert
27 Google about CSAM distributed on Chitter, Google’s automated system that takes user
28 data to create a customized search tool still suggests Chitter to users in the top of the list of
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                               L.W. v. Snap Inc. et al. – COMPLAINT
     Case 3:22-cv-00619-LAB-DEB       Document 1 Filed 05/02/22        PageID.37     Page 37 of
                                              46

 1 apps. Google’s app quality monitoring analytics and algorithms have failed to undertake
 2 quality control, because apps like Chitter are known for CSAM distribution and have
 3 developed a reputation for same, yet it is still sold and downloadable on Google Play Store.
 4 Google has thus failed to prevent the foreseeable and known harms of selling CSAM on its
 5 Store, and the automated systems and algorithms it developed for app quality monitoring
 6 and user protection failed to perform its intended function. Google Play’s defective services
 7 continue to harm minors like Plaintiff. Hence, Google is strictly liable for its defectively
 8 designed services.
 9      137.       Plaintiff and Class members are entitled to the full extent of compensatory
10 damages including personal and emotional injury (both general and special damages for
11 costs of required medical care) and punitive damages in an amount that the jury may
12 determine fair and reasonable.
13
14     SECOND CAUSE OF ACTION: NEGLIGENCE AND NEGLIGENCE PER SE
15                              PRODUCT DESIGN AND DEFECT
16                      (Plaintiff on behalf of Class Against All Defendants)
17
18      138.       Plaintiffs incorporate each and every allegation set forth above as if fully set
19 forth herein.
20      139.       Based on allegations articulated under paragraphs 126-137, Defendants are
21 also liable under negligence and negligence per se theories for selling defectively designed
22 services.
23      140.       All Defendants owed a duty of care (negligence) to Plaintiff and Plaintiff
24 Class to exercise reasonable care to prevent foreseeable and known harms such as CSAM
25 distribution and online sexual grooming of children.
26      141.       All Defendants owed a duty of care (negligence per se) to Plaintiff and
27 Plaintiff Class, not to violate laws prohibiting distribution of CSAM distribution and sexual
28 grooming of children such as the TVPRA (see supra, Seventh Cause of Action) and to
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                               L.W. v. Snap Inc. et al. – COMPLAINT
     Case 3:22-cv-00619-LAB-DEB      Document 1 Filed 05/02/22        PageID.38    Page 38 of
                                             46

 1 exercise reasonable care to prevent foreseeable and known harms from CSAM distribution
 2 and sexual grooming of children.
 3      142.      All Defendants breached this duty by providing defectively designed services,
 4 tools and products to Plaintiff and Plaintiff Class that render no protection from the known
 5 harms of CSAM distribution and online sexual grooming of children.
 6      143.      Defendants’ breach of duty was the proximate cause of the harm suffered by
 7 Plaintiff and Plaintiff Class.
 8      144.      Plaintiff and Class members are entitled to the full extent of compensatory
 9 damages including personal and emotional harm (both general and special damages for
10 costs of required medical care) and punitive damages.
11
12   THIRD CAUSE OF ACTION : CALIFORNIA BUSINESS AND PROFESSIONAL
13              CODE §§17200 & 17500 (“UCL & FALSE ADVERTISING”_)
14                      (Plaintiff on behalf of Class Against All Defendants)
15
16      145.      Plaintiffs restate each and every paragraph of this Complaint as if fully
17 rewritten herein.
18      146.      Plaintiffs on behalf of a Class allege claims under California Business and
19 Professional Code §§17200 & 17500 et seq. (“UCL & False Advertising”). The UCL and
20 False Advertising laws prohibit unlawful, unfair or fraudulent business act or practice and
21 unfair, deceptive, untrue or misleading advertising and any act prohibited by California
22 Bus. & Prof. Code §§17200 and 17500 et seq.
23      147.      Defendant Snap has created an environment that is conducive to CSAM
24 distribution and online sexual grooming of children, yet Snap declared that it has set up
25 protection systems to counter it. However, the technology that Snap implemented is a poor
26 fit for the design of Snapchat platform, and despite knowing this, Snap it is still enabling
27 criminals and gaining financial benefit from the multitudes of criminal and illegal activities
28 as articulated in allegations set forth in this Complaint. Snap also explicitly represents that
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                              L.W. v. Snap Inc. et al. – COMPLAINT
     Case 3:22-cv-00619-LAB-DEB     Document 1 Filed 05/02/22       PageID.39    Page 39 of
                                            46

 1 it collects various user data for purposes of enhancing security and to provide protection of
 2 users from actions that violate Snap’s community guidelines (including sexual harassment
 3 and illegal activity), but instead, Snap uses the various user data for advertisement profit
 4 and other revenue generation. Hence, Defendant Snap’s business activities are unfair and
 5 deceptive.
 6      148.     Defendants Apple and Google each state in its store policies and guidelines
 7 that it aggregates data and user information to provide analytics, automated
 8 recommendation tools, and customized search tools to provide better personalized services
 9 for its users. Despite collecting various types of valuable user information and data that
10 translate to profit for Apple and Google, the Apple App Store and Google Play both steer
11 and enable users to download apps like Chitter known as channels for CSAM distribution.
12 It also clearly states that apps that contain CSAM would be rejected and removed, yet,
13 despite numerous customer reviews reporting CSAM distribution on Chitter, Apple’s and
14 Google’s app stores still allow the Chitter app to be sold and downloaded, and they benefit
15 from users’ downloads and purchases on Chitter. Therefore, Apple’s and Google’s business
16 activities are unfair and deceptive.
17      149.     A reasonable user would have relied on Defendants’ misrepresentation to the
18 user’s detriment.
19      150.     Pursuant to Cal. Bus. & Prof. Code §17200 and 17500 et seq., Plaintiff and
20 the putative Class seek an order enjoining the above-described wrongful acts and practices
21 of the Defendants and for restitution and disgorgement.
22
23     FOURTH CAUSE OF ACTION : FRAUDULENT MISREPRESENTATION &
24                          NEGLIGENT MISREPRESENTATION
25                     (Plaintiffs on behalf of Class Against all Defendants)
26
27      151.     In California, “[t]he general elements of a cause of action for fraudulent
28 misrepresentation are (1) misrepresentation (false representation, concealment, or
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                              L.W. v. Snap Inc. et al. – COMPLAINT
     Case 3:22-cv-00619-LAB-DEB       Document 1 Filed 05/02/22       PageID.40    Page 40 of
                                              46

 1 nondisclosure); (2) knowledge of falsity (scienter); (3) intent to induce reliance; (4)
 2 justifiable reliance; and (5) resulting damage.” Vogelsang v. Wolpert, 227 Cal. App. 2d
 3 102, 109 (Ct. App. 1964).
 4      152.       In California, the elements of negligent misrepresentation are “(1) a
 5 misrepresentation of a past or existing material fact, (2) made without reasonable ground
 6 for believing it to be true, (3) made with the intent to induce another's reliance on the fact
 7 misrepresented, (4) justifiable reliance on the misrepresentation, and (5) resulting
 8 damage.” Ragland v. U.S. Bank Nat. Assn., 209 Cal. App. 4th 182, 196 (2012).
 9      153.       As mentioned in the foregoing paragraphs, all Defendants made concrete
10 representations about its services and tools to protect users from illegal activities including
11 child sexual grooming activities and/or CSAM distribution. Defendants’ statements
12 intentionally or negligently misled users to believe that their services provided the
13 protection necessary to avoid harms related to child sexual grooming and CSAM
14 distribution.
15      154.       A reasonable user would have relied on Defendants’ misrepresentation to the
16 user’s detriment.
17      155.       Plaintiff and Class members seek compensatory and punitive damages and all
18 other forms of relief permitted under this cause of action, in the amount that the jury may
19 determine fair and reasonable.
20
21                  FIFTH CAUSE OF ACTION : UNJUST ENRICHMENT
22                      (Plaintiffs on behalf of Class Against all Defendants)
23
24      156.       Plaintiffs, individually, and on behalf of all others similarly situated, adopt
25 and incorporate by reference all allegations contained in the foregoing paragraphs as
26 though fully set forth herein.
27      157.       Plaintiffs, and the putative Class, conferred a tangible economic benefit upon
28 Defendants by signing up as users and giving up personal data and information in
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                               L.W. v. Snap Inc. et al. – COMPLAINT
     Case 3:22-cv-00619-LAB-DEB      Document 1 Filed 05/02/22         PageID.41   Page 41 of
                                             46

 1 consideration for using Defendants’ service, which services include protection from
 2 CSAM distribution and online sexual grooming. Defendants specifically represented in
 3 their policies that they would collect user data to monitor and detect unlawful and
 4 inappropriate content like CSAM that runs afoul their policies and laws. Instead,
 5 Defendants were enriched by their collection of minor users’ data and selling it for
 6 advertisements and other profitable uses. Plaintiffs received no benefit in exchange and
 7 was exposed to harm as a result.
 8      158.     Through the profits gained by the sale of personal and non-personal
 9 information of users and other purchases facilitated on the apps, Defendants reaped profit
10 from its defectively designed products and services, misrepresentations and deceptive trade
11 practices, and gained financial benefit from illegal trafficking.
12      159.     Under the circumstances, it would be against equity and good conscience to
13 permit Defendants to retain the ill-gotten benefits that they received from Plaintiffs and
14 members of the putative class.
15      160.     It would thus be unjust and inequitable for Defendants to retain the benefits
16 reaped from Plaintiff and Class members. Plaintiff and Class members are entitled to
17 restitution or disgorgement of valuable goods (e.g., personal data, in app purchases and
18 more) provided to Defendants, or such other appropriate equitable remedy as appropriate,
19 to the Plaintiff and other members of the putative Class.
20
21                  SIXTH CAUSE OF ACTION : INJUNCTIVE RELIEF
22                     (Plaintiff on behalf of Class Against All Defendants)
23
24      161.     Plaintiff, individually, and on behalf of all others similarly situated, adopts
25 and incorporates by reference all allegations contained in the foregoing paragraphs as
26 though fully set forth herein.
27      162.     Defendants have refused to act on grounds generally applicable to the
28 injunctive relief sought by Plaintiffs and other members of the putative class, thereby
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                              L.W. v. Snap Inc. et al. – COMPLAINT
     Case 3:22-cv-00619-LAB-DEB       Document 1 Filed 05/02/22       PageID.42     Page 42 of
                                              46

 1 making final injunctive relief appropriate.
 2      163.       Defendants’ conduct, as more fully set forth herein, both in the past and
 3 through the present, demonstrated a willful disregard for the health and safety of minors
 4 and the public and constitutes misrepresentations and deceptive trade practices.
 5      164.       If Defendants continue with these practices, consumers, including the
 6 Plaintiffs and the putative classes will be irreparably harmed in that they do not have a
 7 plain, adequate, speedy, or complete remedy at law to address all of the wrongs alleged in
 8 this Complaint, unless injunctive relief is granted to stop Defendants’ improper conduct.
 9      165.       Plaintiff and the putative Class members are therefore entitled to an injunction
10 requiring Defendants to carry out and implement the actions it has set forth in its own
11 policies and come into compliance with relevant laws as set forth in this Complaint.
12
13 SEVENTH CAUSE OF ACTION: TRAFFICKING VICTIMS PROTECTION ACT,
14                               18 U.S.C. §§ 1591, 1595 ET SEQ.)
15                       (Plaintiff on behalf of Class against All Defendants)
16
17      166.       Plaintiff incorporates each and every allegation set forth above as if fully set
18 forth herein.
19      167.       Under the TVPRA, “(a) Whoever knowingly— (1) in or affecting interstate
20 or foreign commerce, or within the special maritime and territorial jurisdiction of the
21 United States, recruits, entices, harbors, transports, provides, obtains, advertises, maintains,
22 patronizes, or solicits by any means a person; or (2) benefits, financially or by receiving
23 anything of value, from participation in a venture which has engaged in an act described in
24 violation of paragraph (1), knowing, or, except where the act constituting the violation of
25 paragraph (1) is advertising, in reckless disregard of the fact, that means of force, threats
26 of force, fraud, coercion described in subsection (e)(2), or any combination of such means
27 will be used to cause the person to engage in a commercial sex act, or that the person has
28 not attained the age of 18 years and will be caused to engage in a commercial sex act, shall
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                               L.W. v. Snap Inc. et al. – COMPLAINT
     Case 3:22-cv-00619-LAB-DEB     Document 1 Filed 05/02/22       PageID.43   Page 43 of
                                            46

 1 be punished as provided in subsection (b). 18 U.S.C. §1591(a).
 2      168.     Under §1595(a), not only perpetrators, but also “whoever knowingly benefits,
 3 financially or by receiving anything of value from participation in a venture which that
 4 person knew or should have known has engaged in an act in violation of this chapter” is
 5 held civilly liable.
 6      169.     Defendants knowingly used the instrumentalities of interstate commerce to
 7 violate 18 U.S.C. § 1595.
 8      170.     Defendant Snap Inc. knowingly benefits financially from users who use its
 9 platform to sexually groom minors and transmit CSAM materials.
10      171.     Defendant Snap Inc. maintained a continuous business relationship with users
11 like B.P. whereby Snap Inc. provides access to Snapchat platform and users, in
12 consideration for collecting data which translates into advertisement profit and other
13 revenue generation. Because each user is worth and average $31 in North America,
14 Snapchat gained financial benefit from serving users like B.P. while he committed sexual
15 crimes against children on its platform.
16      172.     Defendant Snap Inc. created and maintained the perfect environment for
17 online sexual grooming, for example, through the ephemeral messaging feature which
18 created a sense of impunity and allowed perpetrators to hide from parental monitoring.
19 Defendant Snap belatedly implemented technology like Photo DNA and CSAI Match, but
20 it knew that these were inadequate to detect new CSAM generated through online sexual
21 grooming on Snapchat. As such, Defendant Snap Inc. attracted, solicited, and patronized
22 the activities of users like B.P. who “solely used Snapchat” as his platform of choice to
23 groom minor victims and distribute new CSAM. Defendant Snap Inc. intentionally made
24 it easy for users like B.P. to perpetrate crimes on Snapchat.
25      173.     Defendant Snap Inc. knew or should have known that the videos and images
26 featured on their websites depicted CSAM. Defendant Snap was repeatedly made aware of
27 CSAM distribution and child sexual grooming on its platform by victim’s complaints,
28 third-party reporting, advocacy groups, and government investigations. Defendant Snap
                                                41
                             L.W. v. Snap Inc. et al. – COMPLAINT
     Case 3:22-cv-00619-LAB-DEB      Document 1 Filed 05/02/22       PageID.44     Page 44 of
                                             46

 1 knew or should have known that its websites are known for child sex trafficking based on
 2 all of this information.
 3      174.      Defendants Apple and Google each derive financial benefit and have a
 4 continuous business relationship with Chitter, by taking commissions from in-app
 5 purchases and by gaining data from their digital stores’ and Chitter’s users that they collect
 6 for advertisement and data revenue. Using its recommendation algorithms based on the
 7 analytics of customers’ data, reviews, and ratings of apps, Defendants recommend,
 8 advertise, and steers customers to Chitter, by displaying it as a top app on search, and by
 9 suggesting that a customer “may also like” Chitter.
10      175.      Defendants knew or should have known that CSAM is readily distributed and
11 traded on Chitter, because Defendants were repeatedly made aware of CSAM distribution
12 and child sexual grooming through user reviews and reporting, government and law
13 makers’ warnings, and through their own purported monitoring, analysis, and algorithms
14 developed to control the quality and safety of the apps.
15      176.      Plaintiff thus seeks compensatory and punitive damages on behalf of herself
16 and the Class against all Defendants, jointly and severally, for all injuries sustained as a
17 result of Defendants’ violations of the law, in an amount to be proven at trial, including
18 prejudgment interest thereon.
19      177.      Plaintiff and the Class also seek reasonable attorneys’ fees, costs and expenses
20 incurred in this action, including expert fees, and all other remedies that this Court allows.
21      178.      Plaintiff and the Class seek all forms of injunctive relief to bring Defendants
22 in compliance with the TVPRA.
23                                   PRAYER FOR RELIEF
24         WHEREFORE, the putative representative Plaintiffs, on behalf of themselves and
25 the putative members of the class defined herein, pray for judgment against the Defendants
26 as follows:
27         A.     For an order certifying this action and/or common issues raised herein as a
28         “Class Action” under the appropriate provision of Federal Rule of Civil Procedure
                                                  42
                              L.W. v. Snap Inc. et al. – COMPLAINT
     Case 3:22-cv-00619-LAB-DEB       Document 1 Filed 05/02/22        PageID.45     Page 45 of
                                              46

 1        23(a), 23(b)(2) and/or (b)(3); designating Plaintiff as Class Representative; and
 2        appointing the undersigned to serve as class counsel.
 3        B.      For notice of class certification and of any relief to be disseminated to all Class
 4        Members and for such other further notices as this Court deems appropriated under
 5        Fed. R. Civ. P. 23(d)(2);
 6        C.      For an order barring Defendants from destroying or removing any computer
 7        or similar records which record evidence related to the claims above.
 8        D.      For an order barring Defendants from attempting, on its own or through its
 9        agents, to induce any putative Class Members to sign any documents which in any
10        way releases any of the claims of any Putative Class Members;
11        E.      For granting declaratory and injunctive relief to Plaintiff as permitted by law
12        or equity, including: enjoining Defendants from continuing the unlawful practices
13        as set forth herein, and directing Defendants to identify, with Court supervision,
14        victims of its conduct so as to pay them compensatory damages, punitive damages,
15        restitution and/or disgorgement of all monies acquired by Defendants by means of
16        any act or practice declared by the Court to be wrongful;
17        F.      For an award of compensatory damages in favor of Plaintiff and Class against
18        all Defendants, jointly and severally, in the amount exceeding $5,000,000, to be
19        determined by proof of all injuries and damages described herein and to be proven
20        at trial;
21        G.      Awarding Plaintiff and the Class punitive damages to the extent allowable by
22        law, in an amount to be proven at trial;
23        H.      Awarding restitution and disgorgement of Defendants’ revenues to the
24        Plaintiff and the proposed Class members;
25        I.      Ordering Defendants to develop and implement effective tools to combat
26        CSAM and online sexual grooming; remove and ban all applications that host
27        CSAM and enable online sexual grooming; and cease misrepresentations regarding
28        the use of user data for purposes of protecting members against harm from CSAM
                                                   43
                               L.W. v. Snap Inc. et al. – COMPLAINT
     Case 3:22-cv-00619-LAB-DEB      Document 1 Filed 05/02/22        PageID.46   Page 46 of
                                             46

 1         and online sexual grooming; immediately begin investigating instances of CSAM
 2         and online sexual grooming enforce its own policies against users who engage in
 3         such behavior; and all other forms of injunctive relief that would bring Defendants
 4         into compliance with laws under which causes of actions arise in this Complaint;
 5         J.    Awarding Plaintiff and the Class reasonable attorney’s fees and costs of
 6         prosecuting this action, including expert witness fees;
 7         K.    Awarding pre-judgment and post-judgment interest; and providing such other
 8         relief as may be just and proper.
 9                               DEMAND FOR JURY TRIAL
10         Plaintiff hereby demands a trial by jury for all issues a jury may properly decide and
11 for all of the requested relief that a jury may award.
12
13 Dated: May 2, 2022                       Respectfully submitted,
14                                          By:    /s/ John K. Buche
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                                                   Byron E. Ma (Local Counsel)
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                              L.W. v. Snap Inc. et al. – COMPLAINT
